         Case
          Case2:11-cr-00434-RFB-PAL
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 7

 8
                                   UNITED STATES DISTRICT COURT
 9
                                          DISTRICT OF NEVADA
10
     UNITED STATES OF AMERICA,                       )
11                                                   )
                     Plaintiff,                      ) Case No. 02:11-cr-434-LDG-PAL
12                                                   )
             v.                                      )
13                                                   )
     EUGENI STOYTCHEV,                               )
14                                                   )
                     Defendant.                      )
15
                         MOTION TO VACATE JUDGMENT DEBTOR EXAMINATION
16
             The United States of America, by and through Daniel G. Bogden, United States Attorney, and
17
     Mark E. Woolf, Assistant United States Attorney, hereby moves for an order vacating the Judgment
18
     Debtor Examination scheduled for March 1, 2016. This motion is made because the defendant has paid
19
     his debt in full.
20
             DATED this 8th day of February, 2016.
21
                                                               DANIEL G. BOGDEN
22                                                             United States Attorney
23                                                             /s/ Mark E. Woolf
                                                               MARK E. WOOLF
24                                                             Assistant United States Attorney
25

26
        Case
         Case2:11-cr-00434-RFB-PAL
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                                UNITED STATES DISTRICT COURT
 1
                                       DISTRICT OF NEVADA
 2
     UNITED STATES OF AMERICA,                      )
 3                                                  )
                  Plaintiff,                        ) Case No. 02:11-cr-434-LDG-PAL
 4                                                  )
           v.                                       ) ORDER
 5                                                  )
     EUGENI STOYTCHEV,                              )
 6                                                  )
                  Defendant.                        )
 7

 8         This cause came before the Court on the United States’ Motion to Vacate. Good cause
 9 appearing,

10         IT IS HEREBY ORDERED that the United States’ Motion to Vacate the Judgment
11 Debtor Examination scheduled for March 1, 2016 is granted.

12         DATED this WK day of )HEUXDU\2016.
13

14                                                           _______________________________
                                                             ___________________
                                                                              ____________
                                                                                        ______
                                                                                        __  _________
                                                                                                   ___
15                                                           Peggy
                                                             P gggy A.
                                                             Pe      A. Leen
                                                                         Leen
                                                             United States Magistrate Judge
16

17 SUBMITTED BY:

18 DANIEL G. BOGDEN
   United States Attorney
19
   /s/ Mark E. Woolf
20 Mark E. Woolf
   Assistant United States Attorney
21

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